Case 2:18-cv-10542-LJM-EAS ECF No. 89 filed 08/31/18       PageID.1311    Page 1 of 4



                  UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION

 Joel Vangheluwe and Jerome
 Vangheluwe,
                 Plaintiffs,
       v.
 GotNews, LLC, Freedom Daily,
 LLC, Charles C. Johnson, Alberto            Case No. : 2:18-cv-10542-LJM-EAS
 Waisman, Jeffrey Rainforth, Jim
 Hoft, David Petersen, Jonathan Spiel,       Hon. Laurie J. Michelson
 Shirley Husar, Eduardo Doitteau,
 Lita Coulthart-Villanueva, Kenneth          Mag. Elizabeth A. Stafford
 Strawn, Patrick Lehnhoff, Beth
 Eyestone, Lori Twohy, Raechel
 Hitchye, James Christopher Hastey,
 Christopher Jones, Connie Comeaux,
 Gavin McInnes, Richard Weikart,
 and Paul Nehlen,
                 Defendants.




            REQUEST TO ISSUE JUDGMENT IN A CIVIL ACTION

      COMES NOW Plaintiff Jerome Vangheluwe and respectfully request the

Court direct the Clerk of the United States District Court for the Eastern District

Michigan, Southern Division to enter the attached Judgment in a Civil Action. The

attached represents a true and accurate judgment pursuant to the agreement of the

offer of settlement. [Doc. 34].




                                         1
Case 2:18-cv-10542-LJM-EAS ECF No. 89 filed 08/31/18                            PageID.1312          Page 2 of 4



        This judgment 1 was sent to counsel for GotNews, LLC on July 6, 2018.

Counsel represented on July 9, 2018 that he was “generally fine except the line about

post-judgment interest is inaccurate as to calculation. There is better language we

will provide.”

        The judgment was sent to counsel for GotNews, LLC again on August 24,

2018, asking for comments by August 30, 2018. To date, Plaintiff has not received

proposed revisions.

        Post judgment interest is “calculated form the date of the entry of the

judgment, at a rate equal to the weekly average 1-year constant maturity Treasury

yield, as published by the Board of Governs of the Federal Reserve System, for the

calendar week preceding the date of judgment.” 28 U.S.C. § 1961(a). Post judgment

interest compounds annually. 28 U.S.C. § 1961(b). The attached represents an

accurate post-judgment interest rate should the court enter final judgment on the date

of filing.




1
 The judgments sent to Counsel in July contained a different post-judgment interest rate, as that number changes
weekly.

                                                         2
Case 2:18-cv-10542-LJM-EAS ECF No. 89 filed 08/31/18   PageID.1313   Page 3 of 4



                                          Respectfully submitted,

                                          SOMMERMAN, McCAFFITY
                                          & QUESADA, L.L.P.

                                          _/s/_Andrew B. Sommerman_______
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                                          AND

                                          KIRK, HUTH, LANGE
                                          & BADALAMENTI, PLC

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Dated: August 31, 2018                    rbadalamenti@khlblaw.com




                                      3
Case 2:18-cv-10542-LJM-EAS ECF No. 89 filed 08/31/18     PageID.1314   Page 4 of 4



                        CERTIFICATE OF SERVICE
      The undersigned certifies that on August 31, 2018, the foregoing Request was
served via ECF on counsel of record for defendants who have appeared in this case,
as well as to the following ProSe Defendants via First Class Mail:
Lita Coulthart-Villanueva
      Jeffries St.
Anderson, CA

Kenneth G. Strawn
      Cypress Lane
Mission Viejo, CA

Jeffrey Rainforth
      H St., Apt.
Sacramento, CA



                                            /s/_Andrew B. Sommerman_______




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